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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                  CHARLESTON DIVISION

The Sustainability Institute, et al.,          )   Civil Action Number: 2:25-cv-02152-RMG
                                               )
                        Plaintiffs,            )
                                               )
                vs.                            )
                                               )
Donald J. Trump, in his official capacity      )
as President of the United States, et al.      )
                                               )
                        Defendants.            )

                                        MOTION TO DISMISS

        Defendants move this Court for an order dismissing the Amended Complaint, ECF No. 23,

pursuant to Rule 12(b)(6) for failure to state a claim and Rule 12(b)(1) for lack of subject matter

jurisdiction.1 Defendants assert that, as to claims against the Secretary of Agriculture regarding

the Partnerships for Climate-Smart Commodities (“PCSC”) initiative, Plaintiffs’ claims fail as a

matter of law because they did not exhaust administrative remedies before seeking judicial review.

As to all other remaining claims, by all Plaintiffs, the Court lacks jurisdiction.

I.      Plaintiffs Fail to State a Claim Regarding the Partnerships for Climate-Smart
        Commodities Grants (Grant Award Nos. 27–32).

        A. Statutory and Regulatory Background

        The Commodity Credit Corporation (“CCC”) is a government-owned entity established by

the CCC Charter Act (15 U.S.C. § 714 et seq.) and is an agency and instrumentality of the United

States within the U.S. Department of Agriculture (“USDA”). See Stubbs, Megan (Jan. 14, 2021)

The Commodity Credit Corporation (CCC), CRS Report R44606, https://www.congress.gov/crs-



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          Defendants have filed a Notice of Appeal of the Court’s Orders, ECF Nos. 146 and 157,
which both addressed jurisdiction. With this Motion, Defendants now clarify and assert their
position regarding the limits of the Court’s jurisdiction over Plaintiffs’ remaining claims.
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product/R44606 (hereafter, the “CRS Report”). Incorporated in its current form in 1948, the CCC’s

primary mission is to “stabilize, support, and protect farm income and prices; assist in maintaining

balanced and adequate supplies of agricultural commodities; and facilitate the orderly distribution

of commodities.” Id. CCC does not have any employees but uses the employees, services, and

facilities of various USDA agencies. Id.; see also 15 U.S.C. § 714i (authorizing CCC to utilize the

employees of “any bureau, office, administration, or other agency of [USDA]”).

       The Natural Resources Conservation Service (“NRCS”) is a congressionally authorized

agency within the USDA. See 7 U.S.C. § 6936(a). The Secretary has authority to assign NRCS

jurisdiction over certain unenumerated laws and to perform “[s]uch other functions as the Secretary

considers appropriate . . . .” 7 U.S.C. § 6936(b).

       A “participant” may appeal an “adverse decision” made by the CCC or NRCS to the

National Appeals Division at USDA. 7 U.S.C. § 6991(2)(B) and (F) (including CCC and NRCS

in the definition of an “agency”); 7 C.F.R. § 11.1 (same and also defining “participant”). By law,

a participant must exhaust these administrative procedures, including by appealing and receiving

a determination from the National Appeals Division, before seeking judicial review. 7 U.S.C. §

6912(e) (“[A] person shall exhaust all administrative appeal procedures established by the

Secretary or required by law before the person may bring an action in a court of competent

jurisdiction against . . . the [Secretary of Agriculture].”); see also 7 C.F.R. § 11.13(b) (“An

appellant may not seek judicial review of any agency adverse decision appealable under this part

without receiving a final determination from the [National Appeals] Division pursuant to the

procedures of this part.”). The Director of the National Appeals Division is empowered to

determine whether a decision is appealable. 7 U.S.C. 6992(d). Final determinations issued by the

National Appeals Division are subject to judicial review. 7 U.S.C. § 6999.




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       B. Factual Background

       In early 2022, USDA started the PCSC initiative as an exercise of the agency’s authority

under the CCC Charter Act. 15 U.S.C. § 714 et seq. PCSC was not created by Congress, nor is it

specifically appropriated for by Congress. ECF No. 147-1 at ¶ 9. The NRCS issued a Notice of

Funding Opportunity for the PCSC, which allowed for projects to be funded pursuant to terms set

forth in grant agreements. See id. at ¶ 5 (providing a link to the Notice of Funding Opportunity).

Plaintiffs Conservation Innovation Fund, Marbleseed, Pennsylvania Association for Sustainable

Agriculture, and Organic Association of Kentucky are recipients of PCSC grants. ECF No. 136-1

at # 27, 29, 30, 31. Plaintiffs Alliance for Shenandoah Valley and RAFI-USA are parties to

subaward agreements with PCSC grant recipients. Id. at # 28 and 32.

       On April 14, 2025, USDA publicly announced that it has “reformed and overhauled” the

PCSC initiative. https://www.usda.gov/about-usda/news/press-releases/2025/04/14/usda-cancels-

biden-era-climate-slush-fund-reprioritizes-existing-funding-farmers (last visited May 27, 2025).

The Secretary explained that USDA reviewed each partnership, which led to a concern with the

high administration fees relative to the amount of funding going directly to farmers. Id. USDA

announced that PCSC had been converted into the Advancing Markets for Producers (“AMP”)

initiative to reprioritize efforts so that more money goes directly to farmers. Id. USDA reviewed

“existing grant agreements based on three Farmer First policy priorities,” including a requirement

that “a minimum of 65% of federal funds must go to producers.” Id. In consideration of these new

priorities, USDA terminated some, but not all, PCSC grant awards.

       USDA has issued a notice of intended termination and final termination covering each of

the six PCSC grants at issue in this litigation. See id. at 8–17 (providing relevant documents).

USDA found each grant to be inconsistent with the priority that a minimum of 65 percent of federal




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funds in any grant award go directly to producers. Id.; see also 2 C.F.R. § 200.340(a)(4) (allowing

for terminations “if an award no longer effectuates the program goals or agency priorities”). The

termination letter invites the affected grant recipients to submit a new proposal that aligns with the

Farmer First policy priorities by June 20, 2025. Id.

        C. Procedural Background

        The PCSC Plaintiffs, collectively with the other Plaintiffs in this action, asserted six claims

against all Defendants. See generally ECF No. 23. Plaintiffs stated that they were seeking to restore

grants under “congressionally mandated programs.” ECF No. 24-1 at 2. Defendants supplemented

the record with evidence that PCSC was an initiative created by the Secretary of Agriculture

without Congressional directive or appropriations. ECF No. 147-1 at §§ 3–9. In response, the

PCSC Plaintiffs crystallized their argument around two points: (1) the grant terminations violate

15 U.S.C. § 714, which generally states CCC’s purpose is to stabilize, support, and protect

agricultural commodities, and (2) the grant terminations were not the product of reasoned decision-

making. ECF No. 149. Plaintiffs’ arguments regarding PCSC have not plausibly implicated

separation of powers, the Presentment Clause, or the First Amendment. Id.; see also ECF No. 157

at 23 (describing this issue as an APA challenge, rather than a failure to execute any law).

        D. Rule 12(b)(6): Failure to State a Claim

        A Rule 12(b)(6) motion to dismiss tests the sufficiency of a complaint. FED. R. CIV. P.

12(b)(6). “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). When the

allegations in a complaint, however true, could not raise a claim of entitlement to relief, “‘this

basic deficiency should . . . be exposed at the point of minimum expenditure of time and money




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by the parties and the court.’” Twombly, 550 U.S. at 558 (quoting 5 CHARLES ALAN WRIGHT,

ET AL., FEDERAL PRACTICE AND PROCEDURE § 1216, at 233-34 (3rd ed. 2004)).

       In considering a motion to dismiss, “[t]he court need not accept the plaintiff’s legal

conclusions drawn from the facts, nor need it accept as true unwarranted inferences, unreasonable

conclusions, or arguments.” Philips v. Pitt Cty. Mem’l Hosp., 572 F.3d 176, 180 (4th Cir. 2009)

(cleaned up) (citations omitted). Courts may also consider documents relied on in the Complaint,

as well as the allegations made. Id.

       E. Because Plaintiffs have failed to exhaust administrative remedies, as required by
          law, their claims regarding PCSC should be dismissed.

       Because Plaintiffs have not exhausted all available administrative remedies regarding the

PCSC grant terminations, such claims are not ripe for judicial review.

       “Where Congress specifically mandates, exhaustion is required.” McCarthy v. Madigan,

503 U.S. 140, 144(1992). As to claims against the Secretary of Agriculture, Congress has provided

that “[n]otwithstanding any other provision of law, a person shall exhaust all administrative appeal

procedures established by the Secretary or required by law before the person may bring an action

in a court of competent jurisdiction . . . .” 7 U.S.C. § 6912(e); Bastek v. Fed. Crop Ins. Corp., 145

F.3d 90, 95 (2d Cir. 1998) (“There can be little doubt that Congress’s intent, in enacting [7 U.S.C.

§ 6912(e)], was to require plaintiffs to exhaust all administrative remedies before bringing suit in

federal court.”). Section 6912(e)’s exhaustion requirement is “mandatory, but nonjurisdictional.”

Munsell v. U.S. Dep’t of Agric., 509 F.3d 572, 581 (D.C. Cir. 2007). Indeed, “it is hard to imagine

more direct and explicit language requiring that a plaintiff suing the Department of Agriculture,

its agencies, or employees, must first turn to any administrative avenues before beginning a

lawsuit.” Montanans for Multiple Use v. Barbouletos, 542 F. Supp. 2d 9, 15 (D.D.C. 2008), aff’d,

568 F.3d 225 (D.C. Cir. 2009).



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        Section 6912(e)’s mandatory exhaustion requirement applies because a participant subject

to an “adverse decision” concerning the CCC’s domestic programs or NRCS may appeal to the

National Appeals Division. 7 U.S.C. § 6991(2)(C); 7 C.F.R. § 11.1. Decisions issued by the NAD

are subject to judicial review. 7 U.S.C. § 6999. However, “a party cannot bring a civil action in

federal court against the Secretary of Agriculture without first exhausting all administrative appeal

procedures.” 7 U.S.C. § 6912(e); see also Darby v. Cisneros, 509 U.S. 137, 154 (1993) (discussing

the “final agency action” requirement in 5 U.S.C. § 704 and noting that statutory and regulatory

exhaustion requirements are “prerequisite[s] to judicial review” under the APA).

        Here, Plaintiffs seek judicial review of USDA’s decision to terminate grant awards under

a discretionary initiative. Yet they have not alleged that they exhausted their administrative

remedies by appealing their grant terminations and receiving a final decision from the National

Appeals Division. Because Plaintiffs’ claims stem from grant decisions, and none of those claims

have been properly exhausted as is statutorily required, Plaintiffs fail to state a viable claim. See

Gold Dollar Warehouse, Inc. v. Glickman, 211 F.3d 93, 98 (4th Cir. 2000) (“Parties are required

by statute to exhaust available administrative remedies before they may bring an action against the

USDA in federal court.”); Ovanova, Inc. v. U.S. Dep’t of Agric., No. CV 24-2769 (JEB), 2025 WL

343118, at *6 (D.D.C. Jan. 30, 2025) (“Plaintiffs’ APA claims thus would topple on the merits for

failure to exhaust.”).

        To the extent Plaintiffs respond that they are bringing a challenge that goes beyond

individual grant terminations, Plaintiffs have not received a decision that their claims were not

appealable, nor did they appeal that decision to the Director.2 See 7 U.S.C. § 6992(d). Section



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          Such an argument may also constitute a “programmatic attack” barred by the APA’s
limitation of judicial review to “circumscribed, discrete agency actions.” Norton v. S. Utah
Wilderness All., 542 U.S. 55, 62, 64 (2004) (holding a plaintiff “cannot seek wholesale


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6992(d) provides:

       If an officer, employee, or committee of an agency determines that a decision is not
       appealable and a participant appeals the decision to the Director, the Director shall
       determine whether the decision is adverse to the individual participant and thus
       appealable or is a matter of general applicability and thus not subject to appeal. The
       determination of the Director as to whether a decision is appealable shall be
       administratively final.

       Thus, “Congress specifically vested the [National Appeals Division] with the authority to

determine appealability.” Bartlett v. U.S. Dep’t of Agric., 716 F.3d 464, 474 (8th Cir. 2013); see

also Bastek v. Fed. Crop Ins. Corp., 145 F.3d 90, 95 (2d Cir. 1998) (“Under the clear terms of

[Section 6992(d)], plaintiffs’ argument that their broad challenges . . . could not adequately have

been presented within normal administrative channels is itself an argument that was required to be

tested and exhausted before being presented in federal court.”). In Bastek, the Second Circuit

required exhaustion where plaintiffs purported to challenge a “general policy of calculating

indemnities, rather than individual benefit determinations.” 145 F.3d at 95. The same result would

follow here regarding any categorical arguments – however framed – that agency action was

inconsistent with the CCC’s enabling legislation or the APA’s reasoned decision-making

standards.

       On the other hand, the Fourth Circuit has recognized, a “narrow” exception to section

6912(e) for courts to address a “purely legal question.” Cowpasture River Pres. Ass’n v. Forest

Serv., 911 F.3d 150, 181 (4th Cir. 2018), rev’d and remanded on other grounds, U.S. Forest Serv.

v. Cowpasture River Pres. Ass’n, 590 U.S. 604 (2020). In Cowpasture River, the Fourth Circuit

examined whether the Mineral Leasing Act gave the United States Forest Service statutory

authority to grant pipeline rights of way. Id. at 179–80. The court held that exhaustion was not



improvement of [a] program by court decree . . .”); 5 U.S.C. § 704 (limiting judicial review to
“final agency action”).


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required because the agency had no expertise in the issue of statutory construction and there were

no factual disputes to resolve. Id. at 183; see also Gold Dollar Warehouse, 211 F.3d at 99 (holding

that a facial challenge to regulatory authority does not need to be exhausted, whereas “an as applied

challenge to the regulations, which includes a predicate challenge to the adverse decision of the

agency” does).

       Here, though, the Court has found that a fuller record is needed to determine whether

Plaintiffs’ claims regarding PCSC have merit. ECF No. 157 at 23–24. See generally Bastek, 145

F.3d at 94 (“Exhaustion also allows the agency to develop the factual record of the case, which

aids such judicial review as may be available.”). Therefore, unlike in Cowpasture, resolution of

Plaintiffs’ claims regarding PCSC does not present a “purely legal question.” Indeed, Plaintiffs do

not appear to argue USDA lacks statutory authority to establish priorities or terminate grants.

Rather, Plaintiffs argue the exercise of such authority contravened the general purpose of CCC and

did not reflect reasoned decision-making. This argument mirrors the “as applied” challenge in

Gold Dollar Warehouse and must be exhausted before it is subject to judicial review.

II.    The Court Lacks Nonstatutory Federal Jurisdiction Because Plaintiffs Have Other
       Means of Vindicating Their Rights and Seek to Payments Pursuant to Grant Awards.
       (Grant Award Nos. 1–26, 33–38)

       A. Background

       On April 29, 2025, the Court issued an Order finding that Plaintiffs’ claims fall plainly

within the jurisdiction of this Court under the APA. ECF No. 146. During the telephone conference

on May 16, 2025, ECF No. 154, the Court questioned whether there was an additional, independent

basis for jurisdiction. At that time, Plaintiffs asserted that the Court had jurisdiction independent

of the APA. At the hearing on May 19, 2025, ECF No. 155, Plaintiffs advanced this argument,

referring to their Amended Complaint and Strickland v. United States, 32 F.4th 311, 366 (4th Cir.




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2022). Defendants took no position on whether nonstatutory review jurisdiction applied where

APA claims had been resolved favorably to Plaintiffs. However, Defendants reiterated their

position that causes of action, including constitutional and ultra vires claims, could not be recast

to circumvent Tucker Act jurisdiction.

       On May 20, 2025, the Court issued an Order on Plaintiffs’ Motion for Preliminary

Injunction. The Court found that nonstatutory review jurisdiction supplies an additional grant of

jurisdiction beyond the APA. ECF No. 157 at 10–11. In reaching this conclusion, the Court noted

that “Defendants have to date focused their opposition to Plaintiffs’ federal jurisdiction almost

entirely on whether this Court has jurisdiction under the APA.” Id. at 10. Though Defendants

briefly addressed Tucker Act jurisdiction over constitutional claims in responding to Plaintiffs’

Motion for Preliminary Injunction, ECF No. 56 at 12, Defendants now clarify and assert their

position regarding the limits of the Court’s jurisdiction over Plaintiffs’ remaining so-called

constitutional and ultra vires claims.

       B. Rule 12(b)(1): Lack of Subject Matter Jurisdiction

       A motion to dismiss under Rule 12(b)(1) is “a challenge to the court’s subject matter

jurisdiction.” Hoblick v. United States, 526 F. Supp. 3d 130, 132 (D.S.C. 2021) (citing Arbaugh

v. Y & H Corp., 546 U.S. 500, 507 (2006)). Subject matter jurisdiction is a threshold issue that

must be decided before reaching the merits of the case. See Constantine v. Rectors & Visitors of

George Mason Univ., 411 F.3d 474, 479-80 (4th Cir. 2005). Plaintiffs bear the burden of proving

subject matter jurisdiction. See Williams v. United States, 50 F.3d 299, 304 (4th Cir. 1995).

       Under Rule 12(b)(1), “a defendant may challenge subject matter jurisdiction in one of two

ways.” Kerns v. United States, 585 F.3d 187, 192 (4th Cir. 2009) (citing Adams v. Bain, 697 F.2d

1213, 1219 (4th Cir. 1982)). A defendant can either (1) make a “facial challenge to subject matter




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jurisdiction[,]” contending that “a complaint simply fails to allege facts upon which subject matter

jurisdiction can be based,” or (2) raise a factual challenge “that the jurisdictional allegations of the

complaint [are] not true.” Kerns, 585 F.3d at 192 (quoting Adams, 697 F.2d at 1219). When the

defendant makes a facial challenge, “‘the plaintiff, in effect, is afforded the same procedural

protection as he would receive under Rule 12(b)(6) consideration.’” Kerns, 585 F.3d at 192

(quoting Adams, 697 F.2d at 1219). The complaint’s alleged facts are “taken as true, and the motion

must be denied if the complaint alleges sufficient facts to invoke subject matter jurisdiction.” Id.

        C. Because Plaintiffs Have Other Means of Vindicating their Rights, Nonstatutory
           Jurisdiction Does Not Exist.

        As the Court correctly recognized, federal courts have historically exercised jurisdiction

over equitable claims that an agency official exceeded his statutory or constitutional authority.

ECF No. 157 at 10–11 (citing Leedom v. Kyne, 358 U.S. 184, 188-89 (1958); see also Am. Sch. of

Magnetic Healing v. McAnnulty, 187 U.S. 94, 108, (1902) (“The acts of all its officers must be

justified by some law, and in case an official violates the law to the injury of an individual the

courts generally have jurisdiction to grant relief.”). “Such actions are based on the grant of general

federal-question jurisdiction under 28 U.S.C. § 1331 and the inherent equity powers of the federal

courts.” Rhode Island Dep’t of Env’t Mgmt. v. United States, 304 F.3d 31, 41 (1st Cir. 2002).

        With the passage of the APA, plaintiffs now have a statutory mechanism for obtaining

injunctive or declaratory relief for certain agency actions. See U.S.C. § 703; Commonwealth of

Puerto Rico v. United States, 490 F.3d 50, 60 (1st Cir. 2007) (“Congress has provided a

mechanism—the APA—for resolving these conflicts.”). And since a requirement for equitable

relief is “that a plaintiff lack an adequate remedy at law,” nonstatutory review is unavailable where

“the APA or a special statutory review proceeding can provide adequate relief.” 33 CHARLES

ALAN WRIGHT, ET AL., FEDERAL PRACTICE AND PROCEDURE § 8307 (2d ed.).


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       Indeed, the Supreme Court has recognized that Kyne turned on the fact that the plaintiff

lacked “a meaningful and adequate means of vindicating its statutory rights.” Bd. of Governors of

Fed. Rsrv. Sys. v. MCorp Fin., Inc., 502 U.S. 32, 43, (1991); The holding in Kyne is, therefore,

“limited,” and nonstatutory review jurisdiction is “properly invoked only where the absence of

federal court jurisdiction over an agency action ‘would wholly deprive’ the aggrieved party ‘of a

meaningful and adequate means of vindicating its statutory rights’ and where the agency acted

outside “‘clear and mandatory’ statutory prohibitions.” Long Term Care Partners, LLC v. United

States, 516 F.3d 225, 233 (4th Cir. 2008) (quoting McCorp, 502 U.S. at 43; see also

Commonwealth of Puerto Rico v. United States, 490 F.3d 50, 59–60 (1st Cir. 2007) (“Critically,

with respect to the first requirement for nonstatutory review, Puerto Rico does have a means of

vindicating its rights without nonstatutory review: the APA.”); Nat’l Air Traffic Controllers Ass’n

AFL-CIO v. Fed. Serv. Impasses Panel, 437 F.3d 1256, 1263 (D.C. Cir. 2006) (“Leedom

jurisdiction is extremely narrow in scope.”); but see Sierra Club v. Trump, 929 F.3d 670, 699 (9th

Cir. 2019) (“We do not think that the APA forecloses [an] equitable claim.”).

       Here, Plaintiffs can vindicate their alleged rights to grant funding through a contract action

in the Court of Federal Claims under the Tucker Act, see Section II.D., infra. And even if this Court

is correct that the Tucker Act does not apply, judgment has been entered in favor of Plaintiffs on

their APA claims. Either way, access to an alternate remedy precludes a finding of nonstatutory

review jurisdiction. Compare Long Term Care Partners, 516 F.3d at 236–237 (declining to

exercise nonstatutory jurisdiction where other means to vindicate certain rights existed and where

the plaintiffs “chose not to present the APA argument to the district court”), with Strickland, 32

F.4th 311 (4th Cir. 2022) (holding the APA did not apply and that the only jurisdictional basis for

plaintiff to obtain equitable relief would be nonstatutory review).




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        D. Because Plaintiffs’ Claims, in Essence, Seek Monetary Relief, The Court Lacks
           Jurisdiction Over Them.

        Additionally, nonstatutory review allows a plaintiff to obtain equitable relief only. This

jurisdiction, thus, does not extend to the claims and relief sought in this case, as Defendants

contend on appeal. See No. 25-1575, Docket Entry No. 6 at 20–23.

        Invoking nonstatutory review jurisdiction, ECF No. 23 at ¶ 286, Plaintiffs claim that

Defendants have violated the separation of powers, the Presentment Clause, and the First

Amendment, see id. at ¶¶ 300, 307, 339, and assert that they are bringing their lawsuit “under the

U.S. Constitution and the APA, 5 U.S.C. §§ 702, 704,” id. at ¶ 15.

        The Amended Complaint’s purported nonstatutory claims and APA claims are, as this Court

recognized, “mirror images of each other.” ECF No. 157 at 14. Nonstatutory review permits a

plaintiff to obtain “equitable relief against federal officials in their official capacities.” Strickland,

32 F.4th at 366 (4th Cir. 2022) (emphasis added). Yet, Plaintiffs’ Amended Complaint seeks access

to grant funds by preventing “Defendants from otherwise impeding, blocking, cancelling, or

terminating Plaintiffs’ access,” ECF No. 23 at 91, ¶ G —a remedy that is monetary, not equitable,

cf. Dep’t of the Army v. Blue Fox, Inc., 525 U.S. 255, 263 (1999) (holding that a remedy that seeks

to “attach money in the hands of the Government” is “money damages”). As explained below,

through the Tucker Act, Congress has made clear that this type of claim must be brought in the

Court of Federal Claims, not district court. Consequently, the Amended Complaint should be

dismissed for lack of subject matter jurisdiction.

        The Tucker Act is a federal statute that waives sovereign immunity for certain claims. See

Dep’t of Army v. Blue Fox, Inc., 525 U.S. 255, 259-60 (1999). Specifically, the Tucker Act states

that the “United States Court of Federal Claims shall have jurisdiction to render judgment upon

any claim against the United States founded upon . . . any express or implied contract with the


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United States . . . .” 28 U.S.C. § 1491(a)(1). This jurisdiction is “exclusive in the Court of

Federal Claims for claims over $10,000 . . . .” Coleman v. Kendall, 74 F.4th 610, 615 (4th Cir.

2023) (citing 28 U.S.C. § 1346(a)(2).”

       When determining whether “a particular action” is “at its essence a contract action” subject

to the Tucker Act, courts look to “the source of the rights upon which the plaintiff bases its claims”

and “the type of relief sought (or appropriate)[,]” Megapulse, Inc. v. Lewis, 672 F.2d 959, 968

(D.C. Cir. 1982), and “courts should attempt ‘to make rational distinctions between actions

sounding genuinely in contract and those based on truly independent legal grounds,’” United States

v. J&E Salvage Co., 55 F.3d 985, 988 (4th Cir. 1995) (quoting Megapulse, 672 F.2d at 969-70).

       Plaintiffs’ expressed goal in this litigation is to obtain a “guarantee of funding and

reimbursement” from the federal government. ECF No. 24-1 at 3. The Amended Complaint raises

claims concerning “legally binding agreement[s] with the government.” ECF No. 23 at ¶ 174.

Plaintiffs allege that they entered into “Grant Agreements” with the government, in which certain

federal agencies “agreed to provide funding up to a specified dollar amount, over a specified time

period, for specified work advancing Congress’s objectives for the grant program.” Id. at ¶ 178.

And they contend that the Federal Government has failed to abide by the terms of these

agreements. See id. at ¶ 197. Moreover, Plaintiffs state that these agreements “are not contracts[,]”

id. at ¶ 179, and they persuaded this Court at the preliminary-injunction stage that that the “claims

do not turn on the terms of a contract between the parties,” ECF No. 146 at 5.

       Nonetheless, at this juncture, where Defendants raise a facial challenge to subject matter

jurisdiction under Rule 12(b)(1), the Amended Complaint must be dismissed. There is no “broad

rule that the [Court of Federal Claims] cannot supply an adequate remedy in any case seeking

injunctive relief.” South Carolina v. United States, 221 F. Supp. 3d 684, 696 (D.S.C. 2016)




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(quoting Consolidated Edison, 247 F.3d at 1383). As such, the Court of Federal Claims has

exclusive jurisdiction over this lawsuit.

       Plaintiffs cannot avoid the Court of Federal Claims by characterizing their claims as

constitutional violations. See Dep’t of Educ. v. California, 145 S. Ct. 966, 968 (2025) (“[T]he

APA’s limited waiver of immunity does not extend to orders to enforce a contractual obligation to

pay money along the lines of what the District Court ordered here.”) (internal quotation marks and

citation omitted). Allowing Plaintiffs to get away with such repackaging of essentially contractual

claims “would subvert the jurisdiction of the Court of Claims, and might enable [Plaintiffs] to gain

duplicate relief for the same alleged wrong.” Metadure Corp. v. United States, 490 F. Supp. 1368,

1373 (S.D.N.Y. 1980) (internal citation omitted).

       “Stripped of its equitable flair,” Plaintiffs’ “requested relief seeks one thing”: Plaintiffs

“want[] the Court to order the Government to stop withholding the money due under” the grants—

the “classic contractual remedy of specific performance.” U.S. Conf. of Catholic Bishops v. U.S.

Dep’t of State, 1:25-cv-465, 2025 WL 763738 (D.D.C. Mar. 11, 2025) (quotation omitted).

Accordingly, the Court of Federal Claims could give Plaintiffs this relief and is the proper forum

under the Tucker Act. Plaintiffs cannot sidestep sovereign immunity in this way and obtain an

order granting them “access to their funds” owed pursuant to “legally binding agreements.” See

South Carolina, 221 F. Supp. at 696 (“[A]lthough the State dresses its monetary claim in the garb

of an equitable remedy . . . the court concludes that the claim is essentially one for monetary

relief.”). Indeed, courts, including this one, have rebuffed efforts to reframe a claim for money

damages as equitable in nature to avoid the Court of Federal Claims:

       •   No jurisdiction over claims premised on constitutional violations that sought a
           declaration and injunction related to the payment of decommissioning costs for
           uranium processing facilities. Cons. Edison Co. of New York v. U.S., Dep't of Energy,
           247 F.3d 1378, 1385 (Fed. Cir. 2001) (“This court and its sister circuits will not tolerate



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            a litigant's attempt to artfully recast its complaint to circumvent the jurisdiction of the
            Court of Federal Claims.”).

        •   No jurisdiction over due process claim related to an insurance agreement between
            mortgage lender and the government. Suburban Mortg. Assocs., Inc. v. U.S. Dep't of
            Hous. & Urb. Dev., 480 F.3d 1116, 1124 (Fed. Cir. 2007) (“Though the claim is styled
            as one for declaratory relief, Suburban in essence is seeking to obtain the financial
            benefit of a prior contract-based obligation that allegedly has not been honored by the
            Government. . . . We therefore agree with the Government that despite the form of the
            complaint, Suburban’s claim is in substance a contract-based action asking for
            monetary relief from the Government.”)

        •   No jurisdiction over claims related to federal funding pursuant to cooperative
            agreements. U.S. Conf. of Catholic Bishops v. U.S. Dep’t of State, 1:25-cv-465, 2025
            WL 763738 (D.D.C. Mar. 11, 2025) (“Sure, the Conference seeks to set aside agency
            action. But the agency action that it asks the Court to reverse is the Government’s
            decision to cease a financial relationship with the Conference.”)

        •   No jurisdiction over claims for declaration and injunction related to the removal of
            plutonium from the Savannah River Site. South Carolina v. United States, 221 F. Supp.
            at 696 (D.S.C. 2016) (“[A]lthough the State dresses its monetary claim in the garb of
            an equitable remedy . . . the court concludes that the claim is essentially one for
            monetary relief.);

        Plaintiff’s invocation of constitutional and ultra vires language in describing an alleged

breach of grant award agreements is the type of “artfully recasting” and “dressing up” courts have

found intolerable. Since Plaintiffs “seek[] essentially a monetary award[]” against the Federal

Government, this Court does not have jurisdiction to consider these claims. South Carolina v.

United States, 221 F. Supp. 3d at 696.

III.    Since Plaintiffs Have Not Demonstrated a Concrete and Particularized Injury,
        Plaintiffs Lack Standing to Assert a First Amendment Claim.

        In addition to the reasons set forth in Section II, supra, Plaintiffs’ First Amendment claim

also should be dismissed for lack of subject matter jurisdiction because the Amended Complaint

fails to plead that Plaintiffs suffered a concrete, traceable, and redressable injury such that Plaintiffs

have standing.




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        To establish the first element of standing, Plaintiffs must demonstrate that they suffered an

injury in fact that is “concrete and particularized” and “actual or imminent.” Lujan v. Defenders of

Wildlife, 504 U.S. 555, 560 (1992). Here, Plaintiff have not alleged that they suffered an injury in

fact that is concrete and particularized. The Amended Complaint does not allege that the “Program

Freezing Actions” prohibit Plaintiffs from engaging in specific, planned, and protected First

Amendment conduct. See ECF No. 23 at 86-87. Instead, the Amended Complaint focuses on

Plaintiffs’ alleged inability to access grant funding. Id. at 89, ¶ 338.

        Further, the Amended Complaint does not identify a concrete injury through the vague and

unsupported allegation that “[t]he Program Freezing Actions violate the First Amendment by

restricting Plaintiffs’ constitutionally protected speech based on its content.” Id. at ¶ 339. Indeed,

the Amended Complaint does not bolster the restricted-speech assertion by including “objectively

reasonable” allegations that the “Program Freezing Actions” are “likely [to] deter a person of

ordinary firmness from the exercise of First Amendment rights.” Benham v. City of Charlotte, 635

F.3d 129, 135 (4th Cir. 2011) (citation omitted). Rather, the Amended Complaint’s First

Amendment claim does not include any allegation that Plaintiffs’ free speech has been chilled.

See ECF No. 23 at 329-339. Thus, Plaintiffs have not moved any such allegations from the realm

of “subjective or speculative.” Because a claimed chilling effect cannot be based on subjective or

speculative accounts, Plaintiffs’ Amended Complaint fails to satisfy the standing requirements.

See Benham, 635 F.3d at 135.

        Additionally, because the Amended Complaint fails to allege a concrete injury, Plaintiffs

cannot satisfy the other two elements of the standing inquiry that flow from the concrete injury

requirement. See, e.g., Frank Krasner Enters., Ltd. v. Montgomery Cty., 401 F.3d 230, 234 (4th

Cir. 2005) (explaining traceability is satisfied when “a causal connection between the injury and




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the conduct complained of . . . is fairly traceable, and not the result of the independent action of

some third party not before the court” and redressability is satisfied when there is “a non-

speculative likelihood that the injury would be redressed by a favorable judicial decision.”)

(emphasis and internal quotation marks omitted). For these reasons, Plaintiffs lack standing to

assert the First Amendment claim and the Court lacks subject matter jurisdiction over the claim.

IV.    Conclusion

       As explained above, Defendants respectfully submit that the Amended Complaint should

be dismissed, pursuant to Rule 12(b)(6) and Rule 12(b)(1).

                                                     Respectfully submitted,

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